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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      Mobile County Board of Health, et al. v. Sackler, et al.,        )
            S.D. Alabama, C.A. No. 1:19-01007                          )               MDL No. 2804


                ORDER VACATING CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (Mobile County) on December 4, 2019.
Prior to expiration of that order’s 7-day stay of transmittal, plaintiff in Mobile County filed a notice
of opposition to the proposed transfer. Plaintiff later filed a motion and brief to vacate the
conditional transfer order. The Panel has now been advised that Mobile County was remanded to
the Circuit Court of Mobile County, Alabama, by the Honorable Kristi K. DuBose in an order filed
on January 15, 2020.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-124” filed on December 4, 2019, is VACATED insofar as it relates to this action.


                                                       FOR THE PANEL



                                                       John W. Nichols
                                                       Clerk of the Panel
